                 IN THE UNITED STATES DISTRICT COURT FOR THE
                         MIDDLE DISTRICT OF TENNESSEE
                              NASHVILLE DIVISION

UNITED STATES OF AMERICA                              )
                                                      )
                                                      )
v.                                                    )      Criminal No. 3:13-00012
                                                      )      Judge Trauger
[2] BRENDA ELISE EDWARDS, a/k/a                       )
    Brenda Medina Segura                              )

                                             ORDER

         It is hereby ORDERED that the government shall respond to the defendant’s Motion to

Modify Conditions of Release (Docket No. 68) by July 22, 2013. The government’s response

should reflect the position of the Pretrial Services Officer supervising the defendant.

         It is so ORDERED.

         ENTER this 17th day of July 2013.


                                                      ________________________________
                                                            ALETA A. TRAUGER
                                                              U.S. District Judge




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